                                               United States Bankruptcy Court
                                                    District of Oregon
In re:                                                                                                     Case No. 18-32015-tmb
Suresh D. Doss                                                                                             Chapter 13
Avitha G. Doss
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0979-3                  User: admin                        Page 1 of 1                          Date Rcvd: Mar 06, 2020
                                      Form ID: trc                       Total Noticed: 1

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 08, 2020.
  NO NOTICES MAILED.

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
101740462      +E-mail/Text: bkmailbayview@bayviewloanservicing.com Mar 07 2020 01:56:07
                 THE BANK OF NEW YORK MELLON,   c/o Bayview Loan Servicing, LLC,
                 4425 Ponce De Leon Blvd., 5th Floor,   Coral Gables, FL 33146-1837
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 08, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 6, 2020 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0




                                     Case 18-32015-thp13               Doc 48        Filed 03/08/20
2100 B (12/15)


                                  United States Bankruptcy Court
                                                   District of Oregon
                                                Case No. 18-32015-tmb13
                                                      Chapter 13

In re: Debtor(s) (including Name and Address)

Suresh D. Doss                                                Avitha G. Doss
12446 SE Eagle Glen Dr.                                       12446 SE Eagle Glen Dr.
Happy Valley OR 97086                                         Happy Valley OR 97086



                     NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY

The Claim No(s). listed below was/were filed or deemed filed under 11 U.S.C. § 1111(a) in this case
by the alleged transferor. As evidence of the transfer of that claim, the transferee filed a Transfer of
Claim Other than for Security in the clerk’s office of this court on 03/06/2020.



Name and Address of Alleged Transferor(s):                                    Name and Address of Transferee:
Claim No. 12: THE BANK OF NEW YORK MELLON, c/o Bayview Loan Servicing, LLC,   THE BANK OF NEW YORK MELLON FKA THE BANK OF
4425 Ponce De Leon Blvd., 5th Floor, Coral Gables, FL 33146                   NEW YO
                                                                              P.O. Box 10826
                                                                              Greenville, SC 29603-0826




                                  -- DEADLINE TO OBJECT TO TRANSFER --
The alleged transferor(s) of the claim is hereby notified that objections must be filed with the court
within twenty-one (21) days of the mailing of this notice. If no objection is timely received by the
court, the transferee will be substituted as the original claimant without further order of the court.


Date:    03/08/20                                         Charlene M. Hiss
                                                          CLERK OF THE COURT




                                 Case 18-32015-thp13              Doc 48        Filed 03/08/20
